Case 1:24-cr-20398-RAR Document 117 Entered on FLSD Docket 03/30/2025 Page 1 of 5




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 24-CR-20398-RAR

   UNITED STATES OF AMERICA

   v.

   MAURO NANNINI,

                  Defendant.


                           PRELIMINARY ORDER OF FORFEITURE

         THIS MATTER is before the Court upon the United States of America’s Unopposed

  Motion for Preliminary Order of Forfeiture [ECF No. 113] (“Motion”) against Defendant MAURO

  NANNINI. The Court has carefully considered the Motion, the record, is otherwise fully advised,

  and finds as follows:

         On or around September 12, 2024, a federal grand jury returned an Indictment charging

  the Defendant in Count 1 with conspiracy to commit securities fraud in violation of Title 18, United

  States Code, Section 371, in Counts 2–13 with securities fraud in violation of Title 18, United

  States Code, Section 1348, and in Counts 14–25 with securities fraud in violation of Title 15,

  United States Code, Sections 78j(b) & 78ff; Title 17, Code of Federal Regulations, Sections

  240.10b-5, 240.10b-5-l, & 240.10b-5-2. Indictment, [ECF No. 3]. The Indictment also contained

  forfeiture allegations, which alleged, as relevant here, that, upon conviction of a violation of Title

  18, United States Code, Section 371, specifically a conspiracy to commit securities fraud, the

  Defendant shall forfeit to the United States any property, real or personal, which constitutes or is

  derived from proceeds traceable to such offense, pursuant to Title 18, United States Code, Section

  981(a)(l)(C). See id. at 27–29.
Case 1:24-cr-20398-RAR Document 117 Entered on FLSD Docket 03/30/2025 Page 2 of 5




         On December 16, 2024, the Court accepted the Defendant’s guilty plea to Count 1 of the

  Indictment. See Minute Entry, [ECF No. 54]; Plea Agreement ¶ 1, [ECF No. 57]. As part of the

  guilty plea, the Defendant agreed to the entry of a forfeiture money judgment in the amount of

  $180,328.41 in U.S. Currency, and, in addition, the Defendant agreed to pay the forfeiture money

  judgment at the time of sentencing. See Plea Agreement ¶ 12, [ECF No. 57].

         In support of the guilty plea, the Defendant executed a Factual Proffer, and the Court found

  that there was a factual basis to support the Defendant’s conviction. See Factual Proffer, [ECF

  No. 58]. The Factual Proffer also provided a basis for the forfeiture of property. See id. at 3–4,

  8–9.

         Co-defendant Federico Nannini lived in the home of his father, the Defendant, who was

  previously a securities trader in Venezuela, and, as of June 2022, actively traded millions of dollars

  in brokerage accounts he controlled. Factual Proffer, [ECF No. 58] at 1–2. In approximately June

  2022, co-defendant Federico Nannini, who was then employed at Global Consulting Firm 1, was

  assigned to assist with the proposed corporate acquisition of Infrastructure and Energy Alternative

  Inc. (“IEA”) by MasTec Inc.(“Mastec”), Global Consulting Firm 1’s client (the “Proposed

  Acquisition”). Id. at 2.

         On or around June 8, 2022, while co-defendant Federico Nannini and the Defendant were

  both home, co-defendant Federico Nannini shared with the Defendant that there could be a possible

  acquisition of IEA. Id. at 3. Co-defendant Federico Nannini provided the Defendant with this

  information, which was material non-public information, knowing that there was a possibility that

  the Defendant would trade on the information. Id.

         Then, the Defendant made the following purchases of IEA shares:




                                                    2
Case 1:24-cr-20398-RAR Document 117 Entered on FLSD Docket 03/30/2025 Page 3 of 5




      •   On or about June 8, 2022, the Defendant purchased 3,000 shares of IEA in his Fidelity
          brokerage account ending in 1894 ("Fidelity Account x1894") for approximately
          $27,120.00 (an average price per share of about $9.00);

      •   On or about June 9, 2022, the Defendant purchased 9,500 shares of IEA in Fidelity Account
          x1894 for approximately $86,951.00 (an average price per share of about $9.10); and

      •   On or about June 10, 2022, the Defendant purchased an additional 7,500 IEA shares in
          Morgan Stanley brokerage account ending in 7313 ("Morgan Stanley Account x7313 ") for
          approximately $66,847.25 (an average price per share of about $8.90). 1

  See id. at 3–4.

          Subsequently, on July 14, 2022, co-defendant Federico Nannini received an e-mail from a

  colleague at Global Consulting Firm 1, instructing him to “Focus on [the Proposed Acquisition]

  so we can push it close to the finish by end of day today.” Id. at 7. Co-defendant Federico Nannini

  then accessed several acquisition files, including one labeled, “[Proposed Acquisition] – Report

  Databook,” which was a complete analysis of the acquisition including an indication to co-

  defendant Federico Nannini that the acquisition was going through. Id.

          On July 15, 2022, the day after co-defendant Federico Nannini learned that the Proposed

  Acquisition was going through, the Defendant purchased 19,000 shares of IEA (for approximately

  $165,148.20) in Fidelity Account x1894 and 17,000 shares (for approximately $147,225) in

  Morgan Stanley Account x7313. Id. at 8. Three days later, on July 18, 2022, the Defendant

  purchased 85 one-month IEA call options contracts across his Fidelity and Morgan Stanley

  accounts, indicating he expected the stock price to increase. Id.

          On July 21, 2022, the Defendant purchased an additional 500 IEA shares in his Fidelity

  account. Id. On July 22, 2022, the Defendant sold 2,000 IEA shares in his Fidelity account. Id.




  1
    Fidelity Account x1894 and Morgan Stanley Account x7313 were opened in the name of NS Holdings
  Trust, for which the Defendant served as a trustee.


                                                   3
Case 1:24-cr-20398-RAR Document 117 Entered on FLSD Docket 03/30/2025 Page 4 of 5




          In total, the Defendant sold his entire IEA position including 34,500 shares and 85 call

  options, which he purchased based on material non-public information he received from co-

  defendant Federico Nannini. See Presentence Investigation Report ¶ 50, [ECF No. 93]. The

  Defendant made approximately $180,328.41 during the conspiracy. 2 Id.

          Based on the record in this case, the total value of the proceeds traceable to Count 1 is

  $180,328.41, which sum may be sought as a forfeiture money judgment pursuant to Rule 32.2 of

  the Federal Rules of Criminal Procedure.

          Accordingly, based on the foregoing, the evidence in the record, and for good cause shown,

  the Motion is GRANTED, and it is hereby ORDERED and ADJUDGED as follows:

          1.      Pursuant to 18 U.S.C. § 982(a)(1)(C), 21 U.S.C. § 853, and Rule 32.2 of the Federal

  Rules of Criminal Procedure, a forfeiture money judgment in the amount of $180,328.41 is hereby

  entered against the Defendant.

          2.      The United States is authorized to conduct any discovery that might be necessary

  to identify, locate, or dispose of forfeited property, and to resolve any third-party petition, pursuant

  to Rule 32.2(b)(3), (c)(1)(B) of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(m).

          3.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this Order

  is final as to the Defendant.



  2
      The Defendant has objected to this fact in the Presentence Investigation Report, arguing that the
  Defendant’s net gain during the relevant period was $145,101.20 as he incurred a loss of approximately
  $35,227.21 trading in the stock at issue during the relevant period. See Mauro Nannini’s Objection to the
  Gain Amount Proposed by the PSI Report, [ECF No. 82]; see also Reply by Federico and Mauro Nannini
  in Support of Their Objections to the PSI Report, [ECF No. 95] at 7–10. Although the Defendant disputes
  the net gain as it relates to the sentencing guidelines, the Defendant agreed to a forfeiture money judgment
  in the amount of $180,328.41 and agreed to pay the forfeiture money judgment at the time of sentencing.
  See Plea Agreement ¶ 12, [ECF No. 57]. In addition, the Defendant acknowledges again that he agreed to
  forfeit $180,328.41, and that funds in the amount of $180,328.41 are in his counsel’s trust account and
  earmarked for payment to the Government at sentencing. See Mauro Nannini’s Objection to the Gain
  Amount Proposed by the PSI Report, [ECF No. 82]. Nothing in this Order shall be construed as a ruling
  on the Defendant’s objection to the gain calculation in the Presentence Investigation Report.


                                                       4
Case 1:24-cr-20398-RAR Document 117 Entered on FLSD Docket 03/30/2025 Page 5 of 5




          4.    The Court shall retain jurisdiction in this matter for the purpose of enforcing this

  Order, and pursuant to Rule 32.2(e)(1) of the Federal Rules of Criminal Procedure, shall amend

  this Order, or enter other orders as necessary, to forfeit additional specific property when

  identified.

          DONE AND ORDERED in Miami, Florida, this 28th day of March 2025.



                                                      ____________________________________
                                                      RODOLFO A. RUIZ II
                                                      UNITED STATES DISTRICT JUDGE




                                                 5
